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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTIRCT OF FLORIDA
                                   MIAMI DIVISION

                                         CASE NO.:

   GARY CATENAC and AYANA KNOWLES,
   individually and as representatives of a class of
   participants and beneficiaries on behalf of the
   Lennar Corporation 401(K) Plan,
                                                       CLASS ACTION COMPLAINT
                        Plaintiffs,
                                                       Demand for Jury Trial
   vs.

   LENNAR CORPORATION,

                        Defendant.


                                      INTRODUCTION
          On behalf of the Lennar Corporation 401(k) Plan (“Plan”), Gary Catenac and

   Ayana Knowles (“Plaintiffs”), files this Class Action Complaint against Lennar

   Corporation, (“Lennar” or “Defendant”), for breaching its fiduciary duties of prudence

   in violation of the Employee Retirement Income Security Act, 29 U.S.C. §§1001–1461

   (“ERISA”).

                                      BRIEF OVERVIEW

          1.     Defined contribution retirement plans, like the Plan, confer tax benefits on

   participating employees to incentivize saving for retirement. According to the

   Investment Company Institute, Americans held $7.9 trillion in employer-based defined

   contribution retirement plans as of March 31, 2020, of which $5.6 trillion was held in
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   401(k) plans. See INVESTMENT COMPANY INSTITUTE, Retirement Assets Total

   $28.7 Trillion in First Quarter 2020 (June 17, 2020).

          2.     In a defined contribution plan, ‘“participants’ retirement benefits are

   limited to the value of their own individual investment accounts, which is determined

   by the market performance account contributions, less expenses.” Tibble v. Edison Int’l,

   575 U.S. 523 (2015). Because all risks related to high fees and poorly performing

   investments are borne by the participants, employers have little incentive to keep costs

   reasonable or to closely monitor plans to ensure every investment offered through a plan

   is prudent.

          3.     To safeguard plan participants and beneficiaries, ERISA imposes strict

   fiduciary duties of loyalty and prudence upon employers who sponsor retirement plan.

   29 U.S.C. § 1104(a)(1). These twin fiduciary duties are “the highest known to the law.”

   Sweda v. Univ. of Pennsylvania, 923 F.3d 320, 333 (3d Cir. 2019). Fiduciaries must act

   “solely in the interest of the participants and beneficiaries,” 29 U.S.C. § 1104(a)(1)(A),

   with the “care, skill, prudence, and diligence” that would be expected in managing a

   plan of similar scope. 29 U.S.C. § 1104(a)(1)(B).

          4.     Because retirement savings in defined contribution plans grow and

   compound over the course of employee participants’ careers, poor investment

   performance and excessive fees can and unfortunately often do dramatically reduce the

   amount of benefits available when the participant is ready to retire. Over time, even

   small differences in fees and performance compound and can result in vast differences

   in the amount of savings available at retirement. As the Supreme Court has explained,



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   “[e]xpenses, such as management or administrative fees, can sometimes significantly

   reduce the value of an account in a defined-contribution plan.” Tibble v. Edison Int’l,

   135 S. Ct. 1823, 1825 (2015).

            5.   The U.S. Department of Labor has noted that a 1% higher level of fees

   over a 35-year period makes a 28% difference in retirement assets at the end of a

   participant’s career. U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, p. 2 (September,

   2019).

            6.   Plaintiffs are Plan participants. As of December 31, 2020 (the last year

   Lennar filed statutorily required Form 5500 information about the Plan with the

   Department of Labor), the Plan had $1,224,580,004 in assets (more than $1.2 billion)

   and 12,958 participants with account balances. The Plan is one of the largest plans in

   the country. It is considered a jumbo or mega plan.

            7.    The Plan has tremendous leverage to secure low fees and excellent

   investment options for Plan participants and beneficiaries. Instead of leveraging the

   Plan’s tremendous bargaining power to benefit participants and beneficiaries, Defendant

   caused the Plan to pay excessive fees and compensation to Prudential Retirement

   Insurance and Annuity company (“Prudential”). 1 In short, Defendant violated its

   ERISA’s duty of prudence in three important ways. First, Defendant caused the Plan and

   its participants to pay Prudential excessive and unreasonable fees for administrative


   1
     Effective April 1, 2022, Empower, a division of Great-West Life & Annuity Insurance
   Company, acquired the retirement business of Prudential. The Plan, in communications with
   participants uses references to “Prudential” and “Empower” interchangeably. For clarity, in this
   Complaint Plaintiff uses only the term “Prudential” to reference Prudential and/or Empower.



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   services. Defendant caused the Plan and its participants to pay Prudential more than triple

   the market rate for administrative services. This breach caused the plan losses of at least

   $450,000 per year during the relevant time period. Second, Defendant selected and

   retained on the Plan investment menu the Prudential Stable Value Fund. The Prudential

   Stable Value Fund consistently underperformed industry benchmarks; it underperformed

   stable value funds offered by other investment companies; and it underperformed

   virtually identical stable value funds offered by Prudential to other retirement plans.

   Worse still, Defendant allowed Prudential to steer Plan participants into the imprudent

   Prudential Stable Value Fund by allocating Plan participant money into the Prudential

   Stable Value Fund when Plan participants did not direct their money to be invested

   elsewhere. As a result, there is more Plan participant money in the imprudent Prudential

   Stable Value Fund than in any other investment offered by the Plan. As of December 31,

   2020, there was $206,417,339 (over 200 million dollars) invested in the imprudent

   Prudential Stable Value Fund. Most Plan participants invested in the Prudential Stable

   Value Fund lost money relative to inflation. Prudential, on the other hand, was

   compensated by the Plan at least $5,000,000 per year during the relevant time period for

   investment in the Prudential Stable Value Fund. Defendant never undertook any

   reasonable investigation into the performance of the Prudential Stable Value Fund.

   Defendant never took any prudent measures to discover the actual compensation

   Prudential was pocketing from the Plan via the Prudential Stable Value Fund.

   Consequently, not only have Plan participants been directly paying excessive fees to

   Prudential for administrative services but Prudential has also been receiving wildly



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   excessive compensation through the massive investment in its stable value fund. This

   breach caused Plan losses of at least $4,000,000 per year during the relevant time period.

   Third, whenever a Plan participant deposits or withdraws money from his/her Plan

   account, the money is transferred to a clearing account owned by Prudential. The money

   is in Prudential’s possession, usually for several days while, until eventually the money

   is directed to wherever Plan participants initially requested. Prudential invests and earns

   income on the Plan participant money while it is in its clearing account. Defendant agreed

   that Prudential could keep all of the income and interest earned on Plan participant money

   while it is in Prudential’s account. This income is referred to as “float” income. There is

   nothing per se imprudent about Defendant allowing Prudential to keep the float income.

   Plaintiffs are not making this allegation. Plaintiffs do allege however, Defendant never

   monitored, tracked, negotiated, or factored the amount of float income that Prudential was

   receiving from Plan participants when assessing Prudential’s compensation from the

   Plan. In essence, Defendant allowed Prudential to make money with Plan participant

   money without any corresponding benefit, and Defendant was clueless to the amount of

   money Prudential was taking from Plan participants. This is a class breach of the duty of

   prudence. The breach caused the Plan losses of roughly $200,000 per year during the

   relevant time period.

          8.     To the extent Defendant made any attempt to accurately identify the fair

   market value of the Plan’s expenses, to prudently monitor and review the Plan’s

   investment options, or identify the actual compensation received by Prudential from the

   Plan and its participants, Defendant employed flawed and ineffective processes, which



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   failed to ensure that expenses charged to Plan participants were reasonable and failed to

   ensure the compensation received by Prudential from Plan participants was reasonable.

           9.    Defendant’s mismanagement of the Plan constitutes a breach of the

   fiduciary duty of prudence in violation of 29 U.S.C. § 1104. Defendant’s actions (and

   omissions) were contrary to actions of a reasonable fiduciary of a billion-dollar

   retirement plan and cost the Plan and its participants millions of dollars.

                               JURISDICTION AND VENUE

           10.   This Court has exclusive jurisdiction over the subject matter of this action

   under 29 U.S.C. §1132(e)(1) and 28 U.S.C. §1331 because it is an action under 29

   U.S.C. §1132(a)(2) and (3).

           11.   This Judicial District is the proper venue for this action under 29 U.S.C.

   §1132(e)(2) and 28 U.S.C. §1391(b) because Lennar maintains its corporate

   headquarters in this District.

                                         THE PLAN

           12.   The Plan is a qualified retirement plan commonly referred to as a 401(k)

   plan.

           13.   The Plan is established and maintained under written documents in

   accordance with 29 U.S.C. §1102(a)(1).

           14.   More specifically, the Plan is a “defined contribution” or “individual

   account” plan within the meaning of ERISA § 3(34), 29 U.S.C. § 1002(34).

           15.   Eligible current and former employees of Lennar are eligible to participate

   in the Plan. The Plan provides the primary source of retirement income for many former



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   Lennar employees. The ultimate retirement benefit provided to participants depends on

   the performance of investment options chosen for the Plan by Defendant.

          16.    In theory, Defendant determines the appropriateness of the Plan’s

   investment offerings, monitors investment performance, and reviews total plan and fund

   costs each year. Defendant failed to do so.

                                      THE PARTIES
                                    Plaintiffs & Standing

          17.    Plaintiffs are participants in the Plan under 29 U.S.C. §1002(7).

          18.    Gary Catenac is a resident of Florida. He was employed by Defendant

   from 2013 to 2021. He was and is a member of the Plan. Through his individual account

   in the Plan, he invested in the Prudential Stable Value Fund. He also paid Prudential

   excessive administrative fees during the relevant time period.

          19.    Ayana Knowles is a resident of Georgia. She has been employed since

   March 1, 2017. She is a member of the Plan. Through her individual account in the

   Plan, she invested in the Prudential Stable Value Fund. She also paid Prudential

   excessive administrative fees during the relevant time period.

          20.    In terms of standing, §1132(a)(2) allows recovery for a “plan” and does

   not provide a remedy for individual injuries distinct from plan injuries. Here, the Plan

   suffered millions of dollars in losses caused by Defendant’s fiduciary breaches.

          21.    The Plan continues suffering economic losses, and those injuries may be

   redressed by a judgment of this Court in favor of Plaintiffs and the Plan. The Plan is the

   victim of any fiduciary breach and the recipient of any recovery. Indeed, if Defendant




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   acted prudently, it would immediately correct the flaws identified in this Complaint to

   stop losses from continuing to occur to the Plan and its participants.

          22.    Section 1132(a)(2) authorizes any Plan participant to sue derivatively as a

   representative of the Plan to seek relief on behalf of the Plan. 29 U.S.C. §1132(a)(2). As

   explained in detail below, the Plan suffered millions of dollars in losses caused by

   Defendant’s fiduciary breaches and the Plan remains exposed to harm and continued

   losses, and those injuries may be redressed by a judgment of this Court in favor of

   Plaintiffs.

          23.    To the extent the Plaintiffs must also show individual injuries, even

   though §1132(a)(2) does not provide redress for individual injuries, Plaintiffs have

   standing to bring this action on behalf of the Plan because they participated in the Plan,

   were invested in the stable value fund, were denied an opportunity to invest in a prudent

   stable value fund and were injured by Defendant’s unlawful conduct.

          24.    To establish constitutional Article III standing, Plaintiffs need only show

   an adequate injury flowing from Defendant’s imprudent decisions or failures. Plaintiffs

   have standing because the challenged conduct, including Defendant’s actions resulting

   in Plaintiffs paying excessive administrative fees, and excessive compensation to

   Prudential, which caused Plaintiffs’ financial losses and affected all Plan participants in

   the same way.

          25.    For example, Plaintiffs’ individual accounts in the Plan suffered losses

   because each Plaintiffs’ account was assessed an excessive amount for administrative




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   fees, which would not have been incurred had Defendant discharged its fiduciary duties

   to the Plan and reduced those fees to a reasonable level.

             26.   Not only that, Plaintiffs and all participants in the Plan suffered financial

   harm as a result of Defendant’s inclusion of the imprudent Prudential Stable Value Fund

   and deprived Plan participants of the opportunity to invest in a prudent stable value fund

   and to grow their retirement savings by investing in a prudent stable value fund with

   reasonable fees. All participants continue to be harmed by the ongoing inclusion of

   Defendant’s fiduciary breaches.

             27.   As a result of Defendant’s imprudence, Plaintiffs and Plan participants are

   entitled to restitution in the amount of the difference between the value of their accounts

   currently, or as of the time their accounts were distributed, and what their accounts are

   or would have been worth, but for Defendant’s breaches of fiduciary duty as described

   herein.

                                                Defendant

             28.   Lennar is the Plan sponsor and a statutory fiduciary of the Plan within the

   meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A), because: (a) it is a

   named fiduciary under the Plan, (b) it exercised discretionary authority and control over

   Plan management and/or authority or control over management or disposition of Plan

   assets, and (c) represents to Plan participants that it is a fiduciary of the Plan.

             29.   Lennar sends Plan participants annual notices wherein Lennar

   acknowledges that it is Plan fiduciary and that it is Lennar’s fiduciary responsibility to




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    review compensation paid to third parties (Prudential) and the costs for each investment

    in the Plan.

              30.    Lennar was established in 1954 by Leonard Miller and Arnold Rosen.

    Since its inception, Lennar has maintained its corporate headquarters in Miami, Florida.

    At all relevant times, Lennar has maintained its corporate headquarters at 700 NW 107th

    Avenue, Miami, Florida 33172.

                                CLASS ACTION ALLEGATIONS

              31.    Plaintiffs bring this action as a class action pursuant to Fed. R. Civ. P. 23

        on behalf of themselves and the following proposed class (“Class”): 2 All persons, who

        were participants in or beneficiaries of the Plan, at any time between September 30,

        2016, and the present (the “Class Period”).

              32.    The members of the Class are so numerous that joinder of all members is

        impractical. According to the Plan’s 2020 Form 5500 filed with the U.S. Department

        of Labor, there were 12,958 Plan participants with account balances, as of December

        31, 2020.

              33.    Plaintiffs’ claims are typical of the claims of Class members. Like other

        Class members, Plaintiffs participated in the Plan and suffered injuries because of

        Defendant’s imprudence. Defendant treated Plaintiffs consistently with other Class

        members and managed the Plan as a single entity. Plaintiffs’ claims and the claims of

        all Class members arise out of the same conduct, policies, and practices of Defendant


    2
      Plaintiffs reserve the right to revise the proposed class definition in his motion for class
    certification or subsequent pleadings in this action.



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     as alleged herein, and all members of the Class have been similarly affected by

     Defendant’s wrongful conduct.

           34.    There are questions of law and fact common to the Class, and these

     questions predominate over questions affecting only individual Class members.

     Common legal and factual questions include, but are not limited to:

                  A.     Whether Defendant is a fiduciary of the Plan;

                  B.     Whether Defendant breached its fiduciary duties of prudence by
                         engaging in the conduct described herein;

                  C.     Whether Defendant failed to adequately monitor Prudential’s
                         compensation to ensure the Plan was being managed in compliance
                         with ERISA;

                  D.     The proper form of equitable and injunctive relief; and

                  E.     The proper measure of all relief.

           35.    Plaintiffs will fairly and adequately represent the Class and have retained

     counsel experienced and competent in the prosecution of ERISA class action litigation.

     Plaintiffs have no interests antagonistic to those of other members of the Class.

     Plaintiffs are committed to the vigorous prosecution of this action and anticipate no

     difficulty in the management of this litigation as a class action.

           36.    This action may be properly certified under Fed. R. Civ. P. 23(b)(1). Class

     action status in this action is warranted under Fed. R. Civ. P. 23(b)(1)(A) because

     prosecution of separate actions by the members of the Class would create a risk of

     establishing incompatible standards of conduct for Defendant. Class action status is

     also warranted under Fed. R. Civ. P. 23(b)(1)(B) because prosecution of separate




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     actions by the members of the Class would create a risk of adjudications with respect

     to individual members of the Class that, as a practical matter, would be dispositive of

     the interests of other members not parties to this action, or that would substantially

     impair or impede their ability to protect their interests.

           37.    In the alternative, certification under Fed. R. Civ. P. 23(b)(2) is warranted

     because the Defendant has acted or refused to act on grounds generally applicable to

     the Class, thereby making appropriate final injunctive, declaratory, or other appropriate

     equitable relief with respect to the Class as a whole.

                         DEFENDANT’S FIDUCIARY BREACHES

           38.    ERISA requires every covered retirement plan to provide for one or more

     named fiduciaries who will have “authority to control and manage the operation and

     administration of the plan.” ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1).

           39.    ERISA treats as fiduciaries not only persons explicitly named as

     fiduciaries under § 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who

     in fact perform fiduciary functions. Thus, a person is a fiduciary to the extent: “(i) he

     exercises any discretionary authority or discretionary control respecting management

     of such plan or exercise any authority or control respecting management or disposition

     of its assets, (ii) he renders investment advice for a fee or other compensation, direct or

     indirect, with respect to any moneys or other property of such plan, or has any authority

     or responsibility to do so, or (iii) he has any discretionary authority or discretionary

     responsibility in the administration of such plan.” ERISA § 3(21)(A)(i), 29 U.S.C. §

     1002(21)(A)(i).



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           40.    As described above, Defendant was (and still is a) fiduciary of the Plan

     because Lennar:

                  A.       is so named; and/or

                  B.       exercised authority or control respecting management or
                           disposition of the Plan’s assets; and/or

                  C.       exercised discretionary authority or discretionary control
                           respecting management of the Plan’s fess, expenses, and
                           compensation paid to Prudential; and/or

                  D.       has discretionary authority or discretionary responsibility in the
                           administration of the Plan.

           41.    As a fiduciary, Defendant was/is required by ERISA § 404(a)(1), 29

     U.S.C. § 1104(a)(1), to manage and administer the Plan’s fees and expenses, and the

     Plan’s investments, solely in the interest of the Plan’s participants and beneficiaries and

     with the care, skill, prudence, and diligence under the circumstances then prevailing

     that a prudent person acting in a like capacity and familiar with such matters would use

     in the conduct of an enterprise of a like character and with like aims.

           42.    “In deciding whether and to what extent to invest in a particular

     investment, a fiduciary must ordinarily consider only factors relating to the interests

     of plan participants and beneficiaries in their retirement income. A decision to make

     an investment may not be influenced by non-economic factors unless the investment,

     when judged solely on the basis of its economic value to the plan, would be equal or

     superior to alternative investments available to the plan.” U.S. Dep’t of Labor ERISA

     Adv. Op. 88-16A, 1988 WL 222716, at *3 (Dec. 19, 1988) (emphasis added).




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          43.     ERISA also “imposes a ‘prudent person’ standard by which to measure

    fiduciaries’ investment decisions and disposition of assets.” Fifth Third Bancorp v.

    Dudenhoeffer, 573 U.S. 409 (2014) (quotation omitted). In addition to a duty to select

    prudent investments, under ERISA a fiduciary “has a continuing duty to monitor [plan]

    investments and remove imprudent ones” that exist in a plan, which is “separate and

    apart from the [fiduciary’s] duty to exercise prudence in selecting investments.” Tibble,

    575 U.S. 523. “[A] fiduciary cannot free himself from his duty to act as a prudent man

    simply by arguing that other funds...could theoretically, in combination, create a prudent

    portfolio.” In re Am. Int'l Grp., Inc. ERISA Litig. II, No. 08 CIV. 5722 LTS KNF, 2011

    WL 1226459, at *4 (S.D.N.Y. Mar. 31, 2011) (quoting DiFelice v. U.S. Airways, Inc.,

    497 F.3d 410, 418 n.3, 423–24 (4th Cir. 2007)).

          44.     In addition, ERISA § 405(a), 29 U.S.C. § 1105(a) (entitled “Liability for

    breach by co-fiduciary”) provides:

                  [I]n addition to any liability which he may have under any
                  other provision of this part, a fiduciary with respect to a plan
                  shall be liable for a breach of fiduciary responsibility of
                  another fiduciary with respect to the same plan in the
                  following circumstances: (A) if he participates knowingly in,
                  or knowingly undertakes to conceal, an act or omission of
                  such other fiduciary, knowing such an act or omission is a
                  breach; (B) if, by his failure to comply with section 404(a)(1),
                  29 U.S.C. §1104(a)(1), in the administration of his specific
                  responsibilities which give rise to his status as a fiduciary, he
                  has enabled such other fiduciary to commit a breach; or (C)
                  if he has knowledge of a breach by such other fiduciary,
                  unless he makes reasonable efforts under the circumstances
                  to remedy the breach.




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          45.     During the Class Period, Defendant did not act prudently or in the best

    interests of the Plan’s participants.

          46.     During the Class Period, Defendant failed to have a proper system in place

    to ensure that participants in the Plan were being charged appropriate and reasonable

    fees for administrative services. Defendant also caused the Plan and its participants to

    pay excessive compensation to Prudential via its stable value fund and receipt of float

    income. Not only did Defendant fail to have a proper system in place, but Defendant

    failed to control fees and compensation as a prudent fiduciary would have done.

          47.     As set forth in detail below, Defendant breached fiduciary duties to the

    Plan and its participants and beneficiaries, and is, therefore, liable for their breaches

    under 29 U.S.C. §§ 1104(a)(1) and 1105(a).

                            SPECIFIC ALLEGATIONS
    Improper Management of the Plan Cost the Plan’s Participants Millions in Savings

          48.     Wasting Plan participant retirement savings is imprudent. “In devising and

    implementing strategies for the investment and management of trust assets, trustees are

    obligated to minimize costs.” Uniform Prudent Investor Act (the “UPIA”) § 7.

          49.     “The Restatement…instructs that ‘cost-conscious management is

    fundamental to prudence in the investment function,’ and should be applied ‘not only in

    making investments but also in monitoring and reviewing investments.’” Tibble v.

    Edison Int’l, 843 F.3d 1187, 1197–98 (9th Cir. 2016) (quoting Restatement (Third) of

    Trust § 90, cmt. b). See also U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, at 2 (Aug.

    2013) (“You should be aware that your employer also has a speciﬁc obligation to




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    consider the fees and expenses paid by your plan ... Employers are held to a high

    standard of care and diligence and must discharge their duties solely in the interest of

    the plan participants and their beneﬁciaries.”). 3

          50.      Most participants in 401(k) plans expect that their 401(k) accounts will be

    their principal source of income after retirement. “The 401(k) is the major source people

    think they are going to rely on.” 4 Although at all times 401(k) accounts are fully funded,

    that does not prevent plan participants from losing money on poor investment choices

    of plan sponsors, whether due to poor performance, high fees, or both.

          51.      Indeed, the Department of Labor has stated that employers are held to a

    “high standard of care and diligence” and must both “establish a prudent process for

    selecting investment options and service providers” and to “monitor investment options

    and service providers once selected to see that they continue to be appropriate choices,”

    among other duties. See “A Look at 401(k) Plan Fees,” supra.

          52.      The duty to evaluate and monitor fees and investment costs includes fees

    paid directly by plan participants to investment providers, usually in the form of an

    expense ratio or a percentage of assets under management within a particular

    investment. See Investment Company Institute (“ICI”), The Economics of Providing

    401(k) Plans: Services, Fees, and Expenses, at 4 (July 2016). 5 “Any costs not paid by


    3
      Available at: https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-
    center/publications/a-look-at-401k-plan-fees.pdf (last visited September 27, 2022).
    4
      Brandon, Emily, “10 Essential Sources of Retirement Income,” (May 6, 2011), available at:
    https://money.usnews.com/money/retirement/slideshows/10-essential-sources-of-retirement-
    income (last visited September 27, 2022).
    5
      Available at: https://www.ici.org/pdf/per22-04.pdf (last visited September 27, 2022).



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    the employer, which may include administrative, investment, legal, and compliance

    costs, effectively are paid by plan participants.” Id. at 5.

          53.     The fiduciary task of evaluating investments and investigating comparable

    alternatives in the marketplace is made much simpler by the advent of independent

    research from services like Morningstar, which categorizes funds to “help investors and

    investment professionals make meaningful comparisons between funds. The categories

    make it easier to build well-diversified portfolios, assess potential risk, and identify top-

    performing funds. [Morningstar] place funds in a given category based on their portfolio

    statistics and compositions over the past three years.” 6

                          Defendant Failed to Monitor or Control the
                               Plan’s Administrative Expenses

          54.     The term “recordkeeping” is a catchall term for the suite of administrative

    services typically provided to a defined contribution plan by the plan’s “recordkeeper.”

    Beyond simple provision of account statements to participants, it is quite common for

    the recordkeeper to provide a broad range of services to a defined contribution plan as

    part of its package of services. These services can include claims processing, trustee

    services, participant education, managed account services, participant loan processing,

    Qualified Domestic Relations Order (“QDRO”) processing, preparation of disclosures,

    self-directed brokerage accounts, investment consulting, and general consulting

    services.



    6
       Available at http://www.morningstar.com/InvGlossary/morningstar_category.aspx (last
    visited September 11, 2022).



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          55.     Virtually all recordkeepers in the marketplace offer nearly identical

    services.

          56.     The market for recordkeeping is highly competitive, with many vendors

    equally capable of providing a high-level (i.e., identical) services. As a result of such

    competition, vendors vigorously compete for business by offering the best price when

    prudent fiduciaries request or negotiate the best price. But absent prudent fiduciaries

    requesting or negotiating reasonable prices for recordkeeping services, recordkeepers

    often demand excessive and unreasonable fees for their services – on the theory that if

    imprudent fiduciaries are willing to pay excessive and unreasonable fees for

    recordkeeping, so much the better for the recordkeepers who pocket the fees – and the

    onus is on the fiduciaries to negotiate fair pricing, not on the recordkeepers to do so.

           57.    According to a study conducted by Deloitte Consulting LLP for the

    Investment Company Institute, on average, administrative expenses – the largest of which,

    by far, is recordkeeping – make up 18% of total plan fees. See Inside the Structure of

    Defined Contribution/401(k) Plan Fees, 2013: A study assessing the mechanics of the

    ‘all-in’ fee, at 17 (Aug. 2014) (stating: “recordkeeping, administrative and financial

    advice fees made up 18% of total fees”). 7

          58.     The cost of providing recordkeeping services depends on the number of

    participants in a plan. Plans with large numbers of participants can take advantage of

    economies of scale by negotiating a lower per-participant recordkeeping fee. Because


    7
     Available at https://www2.deloitte.com/content/dam/Deloitte/us/Documents/human-capital/us-
    cons-401k-fee-study-2013-082014.pdf (last visited Oct. 24, 2020).



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    recordkeeping expenses are driven by the number of participants in a plan, most plans

    are charged on a per-participant basis.

          59.     Recordkeeping expenses can either be paid directly on a per-participant

    basis. Recordkeeping expenses can also be paid indirectly by discretely, in many

    instances almost imperceptibly, taking money from Plan participants’ investment

    balances. This is a practice known as revenue sharing (the name is a misnomer because

    recordkeepers surreptitiously take money from participant investments regardless of

    whether the investments increase in value of decease in value. There is no actual

    “revenue sharing.”)

          60.     Utilizing a revenue sharing approach is not per se imprudent. Plaintiffs

    are not making a claim against Defendant merely because they used revenue sharing to

    pay Prudential for recordkeeping. If Defendant makes this argument in a motion to

    dismiss – the argument is disingenuous.

          61.     When revenue sharing is left unchecked, however, it can be devastating

    for Plan participants. “At worst, revenue sharing is a way to hide fees participants pay

    to invest in retirement plans. Nobody sees the money change hands, and very few

    understand what the total investment expense pays for – or how much they are actually

    paying for recordkeeping when the direct expenses and the indirect expenses (revenue

    sharing) are totaled. Defendant here does not disclose in any meaningful way to Plan

    participants how much Plan participants pay in revenue sharing. This is likely because

    Defendant itself does not even know what Plan participants pay in revenue sharing.

    Revenue sharing is a deceptive construct designed to milk large sums of money out of



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    large plans by charging a percentage-based fee that never goes down (when plans are

    ignored or taken advantage of). In some cases, employers and employees believe the

    plan is ‘free’ when it is in fact expensive.” Justin Pritchard, “Revenue Sharing and

    Invisible Fees.” 8

          62.      Because revenue sharing payments are asset based, they bear no relation

    to a reasonable recordkeeping fee. They can (and frankly are designed) to provide

    excessive compensation to recordkeepers because as Plan assets increase so do the fees.

    Again, it is important to emphasize that fees obtained through revenue sharing are

    tethered not to any actual services provided to the Plan; but rather, to a percentage of

    assets in the Plan and/or investments in mutual funds in the Plan. As the assets in the

    Plan increase, so too increases the recordkeeping fees that recordkeepers pocket from

    the Plan and its participants. One commentator likened this fee arrangement to hiring a

    plumber to fix a leaky gasket but paying the plumber not on actual work provided but

    based on the amount of water that flows through the pipe. If asset-based fees are not

    monitored, the fees skyrocket as more money flows into the Plan.

          63.      It is well-established that plan fiduciaries have an obligation to monitor

    and control recordkeeping fees to ensure that such fees remain reasonable. See, e.g.,

    Tussey v. ABB, Inc., 746 F.3d 327, 336 (8th Cir. 2014) (“Tussey II”) (holding that

    fiduciaries of a 401(k) plan “breach[] their fiduciary duties” when they “fail[] to monitor

    and control recordkeeping fees” incurred by the plan). Excessive expenses “decrease [an


    8
      Available at: http://www.cccandc.com/p/revenue-sharing-and-invisible-fees (last visited
    September 27, 2022).



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    account’s] immediate value” and “depriv[es] the participant of the prospective value of

    funds that would have continued to grow if not taken out in fees.” Sweda, 923 F.3d at

    328. No matter the method of payment or fee collection, the fiduciary must understand

    the total amount paid the recordkeeper and per-participant fees and determine whether

    pricing is competitive. See Tussey II, 746 F.3d at 336. Thus, defined contribution plan

    fiduciaries have an ongoing duty to ensure that the recordkeeper’s fees are reasonable.

          64.     Prudent fiduciaries implement three related processes to prudently

    manage and control a plan’s recordkeeping costs. First, they must closely monitor the

    recordkeeping fees being paid by the plan. A prudent fiduciary tracks the recordkeeper’s

    expenses by demanding documents that summarize and contextualize the

    recordkeeper’s compensation, such as fee transparencies, fee analyses, fee summaries,

    relationship pricing analyses, cost-competitiveness analyses, and multi-practice and

    stand-alone pricing reports.

          65.     Second, in order to make an informed evaluation as to whether a

    recordkeeper or other service provider is receiving no more than a reasonable fee for the

    services provided to a plan, a prudent fiduciary must identify all fees, including direct

    compensation indirect compensation through revenue sharing being paid to the plan’s

    recordkeeper. To the extent that a plan’s investments pay asset-based revenue sharing

    to the recordkeeper, prudent fiduciaries closely monitor the amount of the payments to

    ensure that the recordkeeper’s total compensation from all sources does not exceed

    reasonable levels and require that any revenue sharing payments that exceed a

    reasonable level be returned to the plan and its participants.



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          66.       Third, the plan’s fiduciaries must remain informed about overall trends in

    the marketplace regarding the fees being paid by other plans, as well as the

    recordkeeping rates that are available. This will generally include conducting a Request

    for Proposal (“RFP”) process at reasonable intervals, and immediately if the plan’s

    recordkeeping expenses have grown significantly or appear high in relation to the

    general marketplace. More specifically, an RFP should happen at least every three to

    five years as a matter of course, and more frequently if the plans experience an increase

    in recordkeeping costs or fee benchmarking reveals the recordkeeper’s compensation to

    exceed levels found in other, similar plans. George v. Kraft Foods Global, Inc., 641 F.3d

    786, 800 (7th Cir. 2011); Kruger v. Novant Health, Inc., 131 F. Supp. 3d 470, 479

    (M.D.N.C. 2015).

          67.       Defendant failed to prudently manage and control the Plan’s

    recordkeeping fees by failing to undertake any of the aforementioned steps.

          68.       More specifically, Prudential has been the Plan’s recordkeepers during the

    Class Period.

          69.       According to Plan documents obtained thus far, including statutorily

    required Form 5500 disclosures made by the Plan to the Department of Labor,

    Defendant has failed to undertake an RFP during the class period. If Defendant had

    undertaken an RFP to compare Prudential’s fees with those of others in the marketplace,

    Defendant would have recognized that Prudential’s direct fees for recordkeeping

    services during the Class Period have been (and remain) unreasonable and excessive.




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          70.    From 2017 to 2020 the direct annual recordkeeping per participant

    compensation that Prudential received from Plan participants as disclosed in the Plan’s

    Department of Labor annual 5500 disclosures was as follows:

                               Year           Direct Recordkeeping
                                                 Compensation
                               2017                   $41.10

                               2018                   $48.41

                               2019                   $53.19

                               2020                   $52.86


          71.    Defendant disclosed to Plan participants in the Plan’s Summary Plan

    Description, dated January 1, 2021, that a “Quarterly Administrative Fee” in the amount

    of $25.00 per quarter, or $100.00 per year may be taken directly from Plan participants

    with account balances in excess of $2,500.00 by Prudential for recordkeeping fees.

          72.    These amounts do not include indirect compensation that Prudential

    receives from the Plan via revenue sharing, float, spread, etc. By comparison to other

    plans, even Prudential’s direct fees are excessive and unreasonably high. For instance,

    the 401k Averages Book (20th ed. 2020), examined recordkeeping fees for plans with

    less $200 million in assets (i.e., substantially smaller than the Plan) and provides the

    average recordkeeping and administration cost (through direct compensation) is $12 per

    participant. 401k Averages Book at 95.

          73.    Just recently, in Moitoso v. FMP LLC, the parties involved in that case

    came to an agreement that if Fidelity Management Trust Company (one of the largest




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    recordkeepers for retirement plans) were a negotiating recordkeeping fees at arm’s

    length for a plan of $1 billion or more, that recordkeeping costs would range from $14

    to $21 per person per year. 9

          74.     The direct compensation Prudential received from the Plan for

    recordkeeping was excessive. Moreover, Prudential did not receive only the direct

    compensation set forth above—it received far more compensation for recordkeeping and

    other administrative services through indirect compensation, including revenue sharing

    payments.

          75.     As one industry expert has noted: “If you don’t establish tight control, the

    growth of your plan’s assets over time may lead to higher than reasonable amounts

    getting paid to service providers. This is because most revenue sharing is asset-based. If

    a recordkeeper’s workload is about the same this year as last, why should they get more

    compensation just because the market had a big year and inflated the asset base? In a

    large plan, this phenomenon can lead to six figure comp bloat over time. That’s bad for

    plan participants and bad for fiduciaries.” Jim Phillips, (b)est Practices: What Do You

    Know About Revenue Sharing?, PLANSPONSOR.com (June 6, 2014).

          76.     According to Plan’s Department of Labor Form 5500’s, Plan participants

    paid to Prudential both disclosed direct payments for recordkeeping services and

    undisclosed payments for recordkeeping services.




    9
     Moitoso v. FMR LLC, Civil Action 18-12122-WGY (US Dist. of Mass.) decided Mar 27,
    2020.



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          77.     Specifically, the Plan paid substantial amounts through revenue sharing

    arrangements with the various fund families through which the Plan offers investment

    options. See Form 5500 for 2020, Schedule C (reporting only that Prudential received

    indirect compensation without disclosing the amounts of such compensation). As

    discussed below, the indirect compensation Prudential received derives not only from

    revenue sharing but also from float and spread compensation. Defendant has breached

    its fiduciary duties of prudence by allowing Prudential to pocket excessive fees from

    throughout the Class Period.

          78.     As noted above, Defendant agreed that anytime Plan participants deposit

    or withdraw money from their individual accounts, that the money will first pass through

    a Prudential clearing account.

          79.     Defendant agreed Prudential could keep all of the interest and investment

    related revenue earned on Plan participant money while participant money is in

    Prudential’s clearing account (often for several days). This is another form of indirect

    compensation that Prudential receives from the Plan. Because there is over $1.2 billion

    in the Plan, the float compensation Prudential receives from the Plan is substantial. The

    Plan’s 2020 5500 provides that there were $25,026,970 in contributions to the Plan in

    2020, and $116,575,779 in expenses, or money paid out of the Plan in 2020. Thus, in

    2020 alone, Prudential earned interest and investment related revenue on more than

    $141,000,000 ($141 million) of Plan participant money while the money was in

    Prudential’s account. But Defendant did not take any measures to understand, account

    for, negotiate, limit, or end altogether this compensation. A prudent fiduciary is required



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    to do so under ERISA. Defendant’s imprudence caused the Plan losses. Had prudential

    earned 1% on the $141,000,000 it would have pocketed $1,410,000 ($1.4 million) in

    2020 alone from float alone. The numbers are staggering.

          80.     Defendant breached its fiduciary duties of prudence by allowing

    Prudential to receive float compensation from Plan participants without even knowing

    the amount of such compensation or factoring in the amount of such compensation into

    the total amount of compensation Defendant agreed Lennar could take from Plan

    participant retirement savings.

          81.     The total compensation Defendant allowed the Plan to pay Prudential is

    far greater than recognized reasonable compensation for a plan with more than $1.2

    billion in assets. Given the growth and size of the Plan’s assets during the Class Period,

    in addition to the general trend towards lower plan administrative expenses in the

    marketplace as a whole, the Plan could have obtained administrative services that were

    comparable to or superior to the services provided to the Plan by Prudential but at a

    fraction of the cost to Plan participants.

          82.     Prudential performs task for the Plan such as validating payroll data,

    tracking employee eligibility and contributions, verifying participant status,

    recordkeeping, and information management (computing, tabulating, data processing,

    etc.) The services that Prudential provides are nothing out of the ordinary, and a prudent

    fiduciary would have observed the excessive compensation paid to Prudential and taken

    corrective action.




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          83.        Looking at administrative costs for other plans of a similar size as of

    2019/2020 shows that the Plan was paying higher fees than its peers too – an indication

    the Plan’s fiduciaries failed to appreciate the prevailing circumstances surrounding

    recordkeeping and administration fees. The chart 10 below analyzes a few well managed

    similar plans:

         Name of            Total        Dollar Value        Total Reported      Recordkeeping
          Plan           Number of       of Plan Assets      Recordkeeping            and
                         Participants                              and           Administrative
                                                             Administrative       Service Costs
                                                              Service Costs         on a Per-
                                                                                   Participant
                                                                                     Basis 11
     Sutter Health         67,149        $5,565,602,878        $1,719,469              $25
        403(b)
     Savings Plan
        Kaiser             48,263        $4,516,280,538        $1,758,659              $27
      Permanente
     Supplemental
      Savings and
      Retirement
         Plan
     The Rite Aid          31,330        $2,668,142,111         $930,019               $30
      401(k) Plan
        IQVIA              25,083        $2,456,483,287         $439,126              $17.50
      401(k) Plan


          84.        Thus, Defendant should have been able to negotiate a total recordkeeping

    cost anywhere from $14 per participant to $30 from the beginning of the Class Period


    10
       Calculations are based on Form 5500 information filed by the respective plans for fiscal
    2019/202, which are the most recent years for which many plans’ Form 5500s are currently
    available
    11
       R&A costs in the chart are derived from Schedule C of the Form 5500s and reflect fees paid
    to service providers with a service code of “15” and/or “64,” which signifies recordkeeping fees.
    See Instructions for Form 5500 (2019) at pg. 27 (defining each service code), available at
    https://www       .dol.gov/sites/dolgov/files/EBSA/employers-and-advisers/plan-administration-
    and-compliance/ reporting-and-filing/form-5500/2019-instructions.pdf.



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    to the present. Plan participants are paying Prudential in excess of $250 via direct and

    indirect forms of compensation.

          85.     In sum, given the size of the Plan’s assets during the Class Period and total

    number of participants, in addition to the general trend towards lower administrative

    expenses in the marketplace as a whole, Defendant could have obtained for the Plan

    administrative services that were comparable to or superior to the typical services

    provided by Prudential at a lower cost. Defendant failed to do so and, as a result,

    violated its fiduciary duties under ERISA.

                                 Prudential Stable Value Fund

          86.     Stable value funds are a staple of defined contribution plans. They provide

    liquidity, principal protection, and consistent returns over time.

          87.     Stable value funds are intended to provide the liquidity and principal

    protection of a money market fund, but with higher returns that are closer to short-

    intermediate bond funds.

          88.     Stable value funds are able to generate these higher returns because 401(k)

    participant behavior provides a stable amount of money to be invested in the account

    over time. This enables funds providers to offer better crediting rates (the rate of return)

    and to guarantee participants will not lose money by guaranteeing the funds transacts at

    face value. Stable value funds also “stabilize” the returns through the use of an imbedded




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    formula which is part of the contract with the plan that smooths out the volatility of the

    fund resulting from fluctuations in interest rates associated with bond funds. 12

          89.      In most cases, stable value products use a guaranteed investment contracts

    also known as “GICS” or “wraps” that have specialized risk and return characteristics. 13

    In the vast majority of cases, stable value funds are not mutual funds and are typically

    structured as: (1) an insurance company general account; (ii) an insurance company

    separate account; or (iii) a synthetic account.

          90.      Large plans often offer synthetic accounts, which are the least risky

    because principal is guaranteed by multiple “wrap providers” and the fund owns the

    assets of the underlying funds. 14

          91.      Separate account products, where the assets of the underlying funds are

    held in the separate account of an insurance carrier, are riskier because there is only one

    “wrap” provider. As a result, they offer higher crediting rates. Separate account

    products, such as the Prudential PPSA, where the funds are held unrestricted in the

    general account of the insurance carrier, are the riskiest type of stable value funds and

    consequently must offer the highest rates.




    12
       See Stable Value Fund v. Money Market Fund, Financial Web describing difference between
    stable value funds and money market funds, available at http://www.finweb.com/investing
    /stable-value-fund-vs-moeny-market-fund.html#axzz44-EaLfQnQ.
    13
       See https://stablevalue.org/knowledge/faqs/question/what-are-gics-and-wraps.
    14
       Stable value funds invest in fixed-income securities and wrap contracts offered by banks and
    insurance companies. Wrap contracts guarantee a certain return even if the underlying
    investments decline in value. To support that guarantee, a wrap contract relied on both the value
    of the associated assets and the financial backing of the wrap provider.



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          92.     Following the high-profile failure or near failure of a number of stable

    value providers during the credit crisis of 2008-09, the trend among fiduciaries is to

    avoid general account stable value funds because of credit risk concerns.

          93.     During the Class Period, the Plan offered one stable value product, the

    Prudential Stable Value Fund.

          94.     The Prudential Stable Value Fund is a general account product established

    pursuant to a contract between Lennar and Prudential. The invested funds are deposited

    by Prudential into its general account.

          95.     Thus, the Prudential Stable Value Fund is subject to a single entity credit

    risk, of Prudential, the issuer of the contract.

          96.     The crediting rate – set in advance by Prudential at its sole discretion – is

    not tied to the performance of the assets deposited into the Principal Stable Value Fund.

          97.     Because the crediting rate is set in advance, Defendant has both the

    opportunity and the duty to evaluate the investment in advance.

          98.     The fact that the funds are deposited into Prudential’s general account

    enables Prudential to earn a “spread” equal to the difference between the crediting rate

    and the returns earned by Prudential from the general account funds.

          99.     Prudential earns a “spread” equal to the difference between the 0.00-

    2.34%. 2.08%. The average return for Plan participants invested in the Prudential Stable

    Value Fund is 1.57% over the past one year, and 2.08% over the past 3 years. The

    average return over the past month is .11%.




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          100.    Defendant does not require Prudential to provide information regarding

    the performance of the general account into which the Plan participants’ funds were

    invested.

          101.    In addition, Defendant does not require Prudential to disclose the “spread”

    to either the Plan or to the participants.

          102.    Thus, neither Defendant nor the Plan participants know the “spread” on

    Plan participant money being collected by Prudential.

          103.    Upon information and belief, the spread was consistently 400 basis points

    or more.

          104.    That is, Prudential is collecting, and participants are paying, a 4% fee to

    obtain a return of .11%-2.08% on their investments.

          105.    Defendant’s 403(b) Disclosure fails to provide benchmark information for

    the Prudential Stable Value Fund too. As a result, participants cannot evaluate the

    performance of the Prudential Stable Value Fund relative to other stable value funds that

    are available in the marketplace.

          106.    The Prudential Stable Value Fund contractually allows Prudential to pay

    Plan participants invested in the fund no return. It is a “heads I win, tails you lose”

    investment vehicle for Prudential.

          107.    Lennar did not have a viable methodology for monitoring the cost or

    performance of the Prudential stable Value Fund. Not only were comparable products

    available from other providers (New York Life, Vanguard, TIAA, Putnam, etc.) with

    higher crediting rates, but virtually identical products were available from Prudential



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    itself with higher crediting rates and lower spread fees. In fact, the Prudential Stable

    Value Fund consistently returned 200 basis points less than the very same type of fund

    offered by Prudential to other similarly situated retirement plans. By way of one

    example, attached hereto as Exhibit A is Fact Sheet for the “Lennar” Prudential Stable

    Value Fund. The Fact Sheet shows the fund has a current crediting rate of 1.28%.

    Attached hereto as Exhibit B, is a Fact Sheet for a Prudential stable value fund generally

    available to the public. Exhibit B shows essentially the same fund is being offered with

    a crediting rate of 2.43% -- or nearly double the crediting rate of what is in the Plan.

          108.    Lennar did not have to scour the marketplace to find a better performing

    fund, it simply had to make an effort, which it failed to make, to determine whether the

    same fund was available at a lower cost. Fact sheets showing the available crediting

    rates of market rate Prudential stable value funds (Exhibit A) and similar products from

    other providers were readily available had Lennar exercised even a minimal amount of

    due diligence.

          109.    There is more than $200,000,000 ($200 million) of Plan participant money

    invested in the Prudential Stable Value Fund. There is more Plan participant money in

    the Prudential Stable Value Fund than any other investment on the Plan’s investment

    menu.

          110.    The amount of money in the Prudential Stable Value Fund is a direct result

    of Defendant’s use of a Prudential asset allocation service called “GoalMaker.”

          111.    GoalMaker was represented by Defendant to participants as a service that

    would guide and assist participants to a model portfolio of investments available in the



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    Plan and then rebalance accounts quarterly to ensure participants investment portfolios

    stay on target.

          112.    But, in reality, GoalMaker is used to funnel money into Prudential

    proprietary investment products. Hence, the reason why there is more than $200 million

    of Plan participant money invested in the Prudential Stable Value Fund. Indeed, in some

    instances, GoalMaker allocates 44% of all contributions in Plan participants’ accounts

    into the Prudential Stable Value Fund.

          113.    To make matters worse, Defendant selected GoalMaker to be the

    Qualified Default Investment Alternative (“QDIA”) for the Plan. That means whenever

    a Plan participant does not affirmatively elect how to invest new contributions to his/her

    account, GoalMaker will allocate the funds to investments selected by GoalMaker,

    primarily, Prudential proprietary funds like the Prudential Stable Value Fund.

          114.    There is a crucial distinction in evaluating a stable value product’s returns

    against investment returns available elsewhere. Because the product’s performance over

    a given period is declared six months in advance, the plan fiduciary knows six months

    in advance what the returns will be.

          115.    The plan fiduciary also knows that, because of the manner in which

    crediting rates are calculated, the product is less sensitive to interest rates than bond

    funds. Consequently, a stable value product that performs well generally continues to

    perform well, in a stable manner. A stable value product that performs poorly, such as

    the Prudential Stable Value Fund, generally continues to perform poorly in a stable

    manner.



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          116.     A prudent fiduciary – that is, a fiduciary that monitors the investment,

    understands the pricing mechanism, and informs itself of the crediting rates and spread

    fees available in the market – would have known that Prudential’s stable value product

    would underperform and that being a stable value product it would continue to

    underperform in a stable manner.

          117.     A prudent fiduciary would have monitored the investment, understood the

    pricing mechanism, and informed itself regarding reasonable market rate crediting rates and

    spread fees.

          118.     A prudent fiduciary would have learned that the Prudential Stable Value Fund

    was under-performing and divested the Plan of the Prudential Stable Value Fund.

          119.     The consequence of failing to monitor the stable value product was particularly

    significant here. Prudential, the stable value provider, was also the investment platform provider

    and the supplier of GoalMaker, which Prudential applied in a self-dealing manner to steer Plan

    participants to proprietary Prudential products and products paying kickbacks to Prudential.

    General account stable value funds can be tremendously profitable for the issuing insurance

    company because of the spread. The excessive spread in this case resulted in a windfall to

    Prudential, whose compensation Lennar had a legal duty to monitor, but which duty Lennar

    failed to discharge in spectacular fashion.

          120.     On the basis of the excessive spread fees alone, the Prudential Stable Value Fund

    was an imprudent investment which should have been removed from the Plan.




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                                   CLAIM FOR RELIEF
                        Breach of ERISA’s Fiduciary Duty of Prudence

          121.    Plaintiffs re-allege and incorporate herein by reference all prior allegations

    in this Complaint as if fully set forth herein.

          122.    The scope of the fiduciary duties and responsibilities of Lennar includes

    managing the assets of the Plan for the sole and exclusive benefit of Plan participants

    and beneficiaries, defraying reasonable excess expenses of administering the Plan, and

    acting with the care, skill, diligence, and prudence required by ERISA. Lennar is directly

    responsible for ensuring that the Plan’s fees are reasonable, evaluating and monitoring

    the Plan’s investments on an ongoing basis and eliminating imprudent ones, and taking

    all necessary steps to ensure that the Plan’s assets are invested prudently. In order to do

    so, Lennar had to have a viable, documented process and methodology for monitoring

    the Plan’s investment and expenses.

          123.    As the Supreme Court recently confirmed, ERISA’s “duty of prudence

    involves a continuing duty to monitor investments and remove imprudent ones[.]”

    Tibble, 135 S. Ct. at 1829.

          124.    Thus, to state a claim upon which relief can be granted, “A plaintiff may

    allege that a fiduciary breached the duty of prudence by failing to properly monitor

    investments and remove imprudent ones.” Id.

          125.    Lennar failed to implement a prudent process of the selection, monitoring,

    and retention or, as the case may be, removal of the Prudential Stable Value Fund.




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            126.   Lennar also failed to prudently monitor and control the total compensation

    Plan participants paid Prudential for administrative services.

            127.   Lennar failed to discharge its duties with respect to the Plan with the care,

    skill, prudence, and diligence under the circumstances then prevailing that a prudent

    man acting in a like capacity and familiar with such matters would use in the conduct of

    an enterprise of a like character and with like aims.

            128.   Lennar breached its fiduciary duty of prudence under 29 U.S.C. §

    1104(a)(1)(B). Lennar is liable under 29 U.S.C. § 1109(a) to make good to the Plan any

    losses to the Plan resulting from the breaches of fiduciary duty of prudence and is subject

    to other equitable or remedial relief as appropriate.

            129.   Total Plan losses will be determined at trial after complete discovery in

    this case and are illustrated herein based upon the limited information that has been

    made available to Plan participants to date.

                                    PRAYER FOR RELIEF

            For these reasons, Plaintiffs, on behalf of the Plan and all similarly situated Plan

    participants and beneficiaries, respectfully request that the Court:

            1.     Find and declare that the Defendant has breached its fiduciary duties as

    described above;

            2.     Find and adjudge that Defendant is personally liable to make good to the

    Plan all losses to the Plan resulting from each breach of fiduciary duties, and to otherwise

    restore the Plan to the position it would have occupied but for the breaches of fiduciary

    duty;



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          3.     Determine the method by which Plan losses under 29 U.S.C. §1109(a)

    should be calculated;

          4.     Order Defendant to provide all accountings necessary to determine the

    amounts Defendant must make good to the Plan under §1109(a);

          5.     Remove the fiduciaries who have breached their fiduciary duties and

    enjoin them from future ERISA violations;

          6.     Surcharge against Defendant and in favor of the Plan all amounts involved

    in any transactions which such accounting reveals were improper, excessive and/or in

    violation of ERISA;

          7.     Reform the Plan to include only prudent investments;

          8.     Reform the Plan to obtain bids for recordkeeping and to pay only

    reasonable recordkeeping expenses;

          9.     Certify the Class, appoint the Plaintiffs as class representatives, and

    appoint their counsel as Class Counsel;

          10.    Award to the Plaintiffs and the Class their attorney’s fees and costs under

    29 U.S.C. §1132(g)(1) and the common fund doctrine;

          11.    Order the payment of interest to the extent it is allowed by law; and

          12.    Grant other equitable or remedial relief as the Court deems appropriate.




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    Dated this 5th day of October, 2022.

                                           Respectfully submitted,


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